          Case 2:23-cr-20699-GAD-DRG ECF No. 42, PageID.506 Filed 07/31/24 Page 1 of 4


                                             UNITED STATES DISTRICT COURT
                                                        Eastern District of Michigan

 UNITED STATES OF AMERICA                                                            JUDGMENT IN A CRIMINAL CASE
                                                                                     (For Organizational Defendants)

 v.
                                                                                     Case Number: 0645 2:23CR20699 (1)
 AL'S ASPHALT PAVING COMPANY, INC.                                                   Thomas W. Cranmer
                                                                                     Defendant Organization’s Attorney


THE DEFENDANT ORGANIZATION:
 ☒ pleaded guilty to count(s)                                  1 & 2 of the Information
       pleaded guilty to count(s) before a U.S.
 ☐     Magistrate Judge, which was accepted by the
       court.
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
       was found guilty on count(s) after a plea of not
 ☐     guilty


The organizational defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                     Offense Ended       Count
15 U.S.C. § 1 Conspiracy to Restrain Trade                                                                       June 2019      1&2



The defendant organization is sentenced as provided in pages 2 through 4 of this judgment.

 ☐ The defendant organization has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant organization must notify the United States attorney for this district within 30 days of any
change of name, principal business address, or mailing address until all fines, restitution, costs, and special assessments imposed by
this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material
changes in economic circumstances.


 Defendant Organization’s
 Federal Employer I.D. No.: XX-XXXXXXX                              July 31, 2024
                                                                    Date of Imposition of Judgment

 Defendant Organization’s Principal Business Address:              s/Gershwin A. Drain
                                                                    Signature of Judge
 2550 Brest Road
 Taylor, MI 48180
                                                                    Gershwin A. Drain
                                                                    United States District Judge
                                                                    Title of Judge
 Defendant Organization’s Mailing Address:
                                                                    July 31, 2024
 2550 Brest Road                                                    Date
 Taylor, MI 48180
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                                                          PROBATION


The defendant organization is hereby sentenced to probation for a term of:

No term of probation is imposed.


The defendant organization shall not commit another federal, state or local crime.




        If this judgment imposes a fine or a restitution obligation, it is a condition of probation that the defendant organization pay in
accordance with the Schedule of Payments of this judgment.




         The defendant organization must comply with the standard conditions that have been adopted by this court as well as with
any additional conditions on the attached page (if indicated below).



                               STANDARD CONDITIONS OF SUPERVISION

1) within thirty days from the date of this judgment, the defendant organization shall designate an official of the organization to act
as the organization’s representative and to be the primary contact with the probation officer;
2) the defendant organization shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;
3) the defendant organization shall notify the probation officer ten days prior to any change in principal business or mailing address;
4) the defendant organization shall permit a probation officer to visit the organization at any of its operating business sites;
5) the defendant organization shall notify the probation officer within seventy-two hours of any criminal prosecution, major civil
litigation, or administrative proceeding against the organization;
6) the defendant organization shall not dissolve, change its name, or change the name under which it does business unless this
judgment and all criminal monetary penalties imposed by this court are either fully satisfied or are equally enforceable against the
defendant’s successors or assignees; and
7) the defendant organization shall not waste, nor without permission of the probation officer, sell, assign, or transfer its assets.
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                                     CRIMINAL MONETARY PENALTIES
     The defendant organization must pay the total criminal monetary penalties under the schedule of payments.
                                                 Assessment                               Fine                             Restitution
 TOTALS                                                 $800                      $795,661.81                                    None


 ☐ The determination of restitution is deferred until     An Amended Judgment in a Criminal Case (AO245C) will be entered
   after such determination.
 ☐The defendant organization must make restitution (including community restitution) to the following payees in the amount
   listed below.

If the defendant organization makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims
must be paid before the United States is paid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant organization shall pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid
       in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options may
       be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☐     The court determined that the defendant organization does not have the ability to pay interest, and it is ordered that:
       ☐ the interest requirement is waived for the ☐ fine                ☐ restitution
       ☐ the interest requirement for the                ☐ fine        ☐ restitution is modified as
                                                                             follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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                                               SCHEDULE OF PAYMENTS
Having assessed the organization’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     ☒ Lump sum payments of $796,461.81 (fine and special assessment) due immediately, balance on the fine due
       ☐ not later than                                      , or

       ☒ in accordance with             ☒      C or      ☐          D below; or


 B     ☐ Payment to begin immediately (may be combined with ☐ C or                  ☐ D below); or
 C     ☒ Payment in yearly installments of $132,610.30 (w/accrued interest) over a period of
             Five years, to commence 30 days after the date of this judgment; or

 D     ☐ Special instructions regarding the payment of criminal monetary penalties:




All criminal penalties are made to the clerk of the court.

The defendant organization shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 ☐ Joint and Several
       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant organization shall forfeit the defendant organization’s interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
